       Case 2:24-cv-00029             Document 41     Filed on 12/05/24 in TXSD   Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                      UNITED STATES DISTRICT COURT
                                                                                         ENTERED
                                       SOUTHERN DISTRICT OF TEXAS                    December 05, 2024
                                         CORPUS CHRISTI DIVISION                      Nathan Ochsner, Clerk


PHH MORTGAGE CORPORATION,                             §
                                                      §
         Plaintiff,                                   §
                                                      §
V.                                                    §   CIVIL ACTION NO. 2:24-CV-00029
                                                      §
MARIA CONCEPCION DYE, et al.,                         §
                                                      §
         Defendants.                                  §
                                                      §
                                                    ORDER

        The Court recently held a status conference in this matter. See December 4, 2024 Minute

Entry. Counsel for Plaintiff and Counsel for Defendant Maria Dye appeared before the Court. See id

At the status conference, Defendant's counsel informed the Court he remains working towards a

resolution of the case against Defendant Dye, which includes proceedings in probate court. Id The

parties agreed this warrants another sixty-day stay. Id Accordingly, the Court STAYS the case until

February 3, 2025. The Court ORDERS the parties to appear before the undersigned on February

3, 2025 at 10:00 a.m. to provide the Court with an upd

        SO ORDERED.


                                                        DA     .MORALES
                                                        UNITED STATES DISTRICT JUDGE

Signed: Corpus Chr~Texas
        December J...:....::_, 2024




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